             Case MDL No. 2964 Document 88 Filed 10/02/20 Page 1 of 6



                              UNITED STATES JUDICIAL PANEL
                                           on
                               MULTIDISTRICT LITIGATION


IN RE: SOCIETY INSURANCE COMPANY
COVID-19 BUSINESS INTERRUPTION PROTECTION
INSURANCE LITIGATION                                                                      MDL No. 2964


                                        TRANSFER ORDER


        Before the Panel: At its July 2020 hearing session, the Panel considered two motions
seeking centralization of an industry-wide litigation involving insurance claims for coverage of
business interruption losses caused by the COVID-19 pandemic and the related government orders
suspending, or severely curtailing, operations of non-essential businesses. We denied the motions,
concluding that the differences among the many insurers would overwhelm any common factual
questions and hinder the transferee court’s ability to efficiently manage the litigation. See In re
COVID-19 Bus. Interruption Prot. Ins. Litig., MDL No. 2942, 2020 WL 4670700, __ F. Supp. 3d
__ (J.P.M.L. Aug. 12, 2020). In the briefing on those motions, several parties proposed that insurer-
specific MDLs be created. We concluded that we needed “a better understanding of the factual
commonalities and differences among these actions, as well as the efficiencies that may or may not
be gained through centralization, before creating an insurer-specific MDL.” Id. at *3. So we
ordered the Panel Clerk to issue orders directing the parties to certain actions involving a common
insurer or group of insurers to show cause why those actions should not be centralized.

        One of those orders encompassed the 21 actions listed on Schedule A, which involve claims
against Society Insurance Company (Society). Since we issued this show cause order, the parties
have notified us of thirteen related actions filed in seven districts.1 Plaintiffs in ten of the 34 actions
support the creation of a Society MDL in the Northern District of Illinois. Plaintiffs in two actions
support centralization in the Eastern District of Wisconsin, and one of those plaintiffs (in the Rising
Dough action) alternatively support a Northern District of Illinois transferee district. Plaintiffs in
two Northern District of Illinois actions (Big Onion and Billy Goat) and the Middle District of
Tennessee Peg Leg Porker action oppose centralization. If an MDL is created over their objections,
the Billy Goat and Peg Leg Porker plaintiffs request exclusion from it. Defendant Society opposes
centralization. Additionally, the Panel received two briefs by amici curiae, one in support of and
one in opposition to centralization.




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         These actions, and any other related actions, are potential tag-along actions. See Panel
Rules 1.1(h), 7.1 and 7.2.
             Case MDL No. 2964 Document 88 Filed 10/02/20 Page 2 of 6



                                                  -2-

        After considering the arguments of counsel,2 we conclude that centralization of the Society
actions listed on Schedule A will serve the convenience of the parties and witnesses and further the
just and efficient conduct of this litigation. Society is a regional carrier operating in six Midwestern
states – Illinois, Indiana, Iowa, Minnesota, Tennessee and Wisconsin. Policyholders have brought
individual and putative nationwide and statewide class actions against Society. These actions share
common factual allegations that Society wrongfully denied policy holders’ claims for business
interruption protection insurance. Plaintiffs contend that Society preemptively decided to deny their
claims, which are brought under various property insurance policies that, depending on the
provisions plaintiff has purchased, provide: (1) business income coverage, (2) civil authority
coverage, (3) extra expense coverage, (4) contamination coverage, and (5) sue and labor coverage.
On March 16, 2020, Society CEO Rick Parks circulated a memorandum to Society’s “agency
partners,” acknowledging that states had “taken steps to limit operations of certain businesses,” and
concluding that Society’s policies likely would not provide coverage for losses for a “governmental
imposed shutdown due to COVID-19 (coronavirus).” The insurance policies at issue in the Society
actions appear to use standard forms drafted by the Insurance Services Office (ISO) and will involve
the interpretation of common policy language. The actions therefore will require an assessment of
whether COVID-19 caused any direct physical loss of or to property, and whether any of Society’s
policy exclusions apply to preclude plaintiffs’ claims. To the extent discovery is necessary of
Society regarding the drafting and interpretation of it policies, that discovery will be common to all
actions. Thus, these actions present common factual and legal questions that support centralization.

         In addition to requiring common factual questions, Section 1407 also requires that
centralization promote the just and efficient conduct of the actions. This litigation demands
efficiency. As counsel repeatedly emphasized in their papers and during oral argument, time is of
the essence in this litigation. Many plaintiffs are on the brink of bankruptcy as a result of business
lost due to the COVID-19 pandemic and the government closure orders. The most pressing question
before us, then, is whether centralization presents the most efficient means of advancing these
actions towards resolution. Unlike the other business interruption insurance dockets arising from
MDL No. 2942 in which we have denied centralization, we find that centralization presents the most
efficient means of advancing these actions toward resolution. Here, there are before us 34 total
actions pending in six nearby states, the majority in one district. This suggests to us that this
litigation presents a manageable controversy that can best be streamlined by proceeding before a
single judge.

       Society argues that centralization is not appropriate because the actions likely will involve
primarily legal questions. It is possible that plaintiffs’ claims can be decided on motions to dismiss
without need for discovery into, for example, the drafting of the policies at issue or epidemiological
modeling of the spread of COVID-19. But centralization may be warranted even where common
questions of law are prominent, as long as common factual issues are present. In such cases, “[t]he


        2
         In light of the concerns about the spread of COVID-19 virus (coronavirus), the Panel heard
oral argument by videoconference at its hearing session of September 24, 2020. See Suppl. Notice
of Hearing Session, MDL No. 2964 (J.P.M.L. Sept. 8, 2020), ECF No. 76.
             Case MDL No. 2964 Document 88 Filed 10/02/20 Page 3 of 6



                                                  -3-

Panel must determine the extent of the common factual issues and the likelihood that centralized
pretrial proceedings will create important efficiencies, avoid inconsistent rulings, and result in the
overall fairer adjudication of the litigation for the benefit of all involved parties.” In re Polar Bear
Endangered Species Act Listing & 4(d) Rule Litig., 588 F. Supp. 2d 1376, 1377(J.P.M.L. 2008).
Here, significant factual questions exist among the actions, and centralization will create substantial
efficiencies for the parties and the courts.

        Opponents of centralization also argue that, should plaintiffs’ claims survive dispositive
rulings on policy interpretation questions, discovery will be plaintiff- and property-specific. There
likely will be, by necessity, some unique aspects of each case. Were this litigation larger in
geographic scope and if it involved more state laws (such as in some of the other show cause dockets
before us), this might be a more persuasive argument because the transferee judge would be tasked
with managing a much more complicated litigation. What sets this litigation apart is the defined
geographical scope of these actions, which implicates only six state insurance laws. We note that
the transferee judge can employ any number of pretrial techniques – including establishing state-
specific tracks and selecting certain already-briefed motions in individual cases as bellwether
motions – to manage any differences that the Society actions present.

         Certain parties also assert that informal coordination among the parties and courts is
preferable to formal centralization. We do not view alternatives to centralization to be an adequate
substitute for an MDL here. There are nearly three dozen cases brought by diverse counsel before
more than twenty judges, which makes coordination difficult. The parties also seem to disagree
about how to accomplish such coordination; in fact, one effort to streamline the litigation – intra-
district reassignment to a single judge in the Northern District of Illinois cases – was opposed by
Society and some plaintiffs.

       We are persuaded that the Northern District of Illinois is an appropriate transferee district.
The district is the obvious center of gravity of this litigation against Society, with 22 of the total 34
pending cases filed there. Chicago lies at the heart of Society’s regional business and represents an
accessible forum with the capacity to efficiently manage these cases. Also, it is conveniently located
near Society’s Milwaukee, Wisconsin headquarters. We are confident that Judge Edmond E. Chang,
who has not yet had the opportunity to preside over an MDL, will steer this litigation on a prudent
and expeditious course.
            Case MDL No. 2964 Document 88 Filed 10/02/20 Page 4 of 6



                                                -4-

        IT IS THEREFORE ORDERED that the actions listed on Schedule A and pending outside
the Northern District of Illinois are transferred to the Northern District of Illinois and, with the
consent of that court, assigned to the Honorable Edmond E. Chang, for coordinated or consolidated
pretrial proceedings with the actions pending there and listed on Schedule A.


                                       PANEL ON MULTIDISTRICT LITIGATION




                                                      Karen K. Caldwell
                                                            Chair

                                      Ellen Segal Huvelle            R. David Proctor
                                      Catherine D. Perry             Nathaniel M. Gorton
                                      Matthew F. Kennelly            David C. Norton
        Case MDL No. 2964 Document 88 Filed 10/02/20 Page 5 of 6



IN RE: SOCIETY INSURANCE COMPANY
COVID-19 BUSINESS INTERRUPTION PROTECTION
INSURANCE LITIGATION                                             MDL No. 2964


                                     SCHEDULE A


          Northern District of Illinois

    BIG ONION TAVERN GROUP, LLC, ET AL. v. SOCIETY INSURANCE, INC.,
          C.A. No. 1:20-02005
    BILLY GOAT TAVERN I, INC., ET AL. v. SOCIETY INSURANCE,
          C.A. 1:20-02068
    BISCUIT CAFE INC., ET AL. v. SOCIETY INSURANCE, INC., C.A. No. 1:20–02514
    DUNLAYS MANAGEMENT SERVICES, LLC, ET AL. v. SOCIETY INSURANCE,
          C.A. No. 1:20–02524
    JDS 1455, INC. v. SOCIETY INSURANCE, C.A. No. 1:20–02546
    351 KINGSBURY CORNER, LLC v. SOCIETY INSURANCE, C.A. No. 1:20–02589
    ROSCOE SAME LLC, ET AL. v. SOCIETY INSURANCE, C.A. No. 1:20–02641
    KEDZIE BOULEVARD CAFE INC. v. SOCIETY INSURANCE INC.,
          C.A. No. 1:20–02692
    VALLEY LODGE CORP. v. SOCIETY INSURANCE, C.A. No. 1:20–02813
    THE BARN INVESTMENT LLC, ET AL. v. SOCIETY INSURANCE,
          C.A. No. 1:20–03142
    PURPLE PIG CHEESE BAR & PORK STORE, LLC v. SOCIETY INSURANCE,
          C.A. No. 1:20–03164
    CIAO BABY ON MAIN LLC v. SOCIETY INSURANCE INC., C.A. No. 1:20–03251
    CARDELLI ENTERPRISE, LLC v. SOCIETY INSURANCE, C.A. No. 1:20–03263
    726 WEST GRAND LLC, ET AL. v. SOCIETY INSURANCE, C.A. No. 1:20–03432
    DEERFIELD ITALIAN KITCHEN, INC. v. SOCIETY INSURANCE, INC.,
          C.A. No. 1:20–03896
    THE WHISTLER LLC, ET AL. v. SOCIETY MUTUAL INSURANCE COMPANY,
          C.A. No. 1:20–03959
    RIVERSIDE ENTERPRISES, LLC v. SOCIETY INSURANCE, C.A. No. 1:20–04178

          District of Minnesota

    LUCY’S BURGERS, LLC v. SOCIETY INSURANCE, INC., C.A. No. 0:20–01029

          Middle District of Tennessee

    PEG LEG PORKER RESTAURANT, LLC v. SOCIETY INSURANCE,
         C.A. No. 3:20–00337
    Case MDL No. 2964 Document 88 Filed 10/02/20 Page 6 of 6



                                      -A2-

      Eastern District of Wisconsin

RISING DOUGH, INC., ET AL. v. SOCIETY INSURANCE, C.A. No. 2:20-00623
AMBROSIA INDY LLC v. SOCIETY INSURANCE, C.A. No. 2:20–00771
